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                                                                       February 6, 2019

                            Price v. City of New York, et al.
                                No. 15-CV-5871 (KPF)

Dear Judge Failla:

                We write pursuant to the Court’s January 9, 2019 order (ECF No. 127)
directing Ms. Price to notify the Court whether she has obtained counsel. We have
agreed to represent Ms. Price in the above captioned matter and are available at the
Court’s earliest convenience for a conference to discuss a discovery schedule.




                                                 Respectfully,



                                                 Damaris Hernández

Hon. Katherine Polk Failla
   United States District Judge
      Southern District of New York
          Thurgood Marshall United States Courthouse
                  40 Foley Square
                      New York, NY 10007
